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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Symbology Innovations LLC
                                    Plaintiff,
v.                                                   Case No.: 1:16−cv−10750
                                                     Honorable Matthew F. Kennelly
Home Depot
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 15, 2017:


        MINUTE entry before the Honorable Matthew F. Kennelly: Rule 16(b) status
hearing held with attorneys for both sides. Status hearing is continued to 4/26/2017 at 9:00
a.m. Unopposed motion to stay [18] is granted. Hearing date of 3/21/2017 is vacated. All
deadlines are stayed through 4/21/2017 based on the parties' report that they have reached
a settlement. Mailed notice. (pjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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